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                       UNITED STATES DISTRICT COURT

                            DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,                         Criminal No. 19-128 (JRT/TNL)

                                 Plaintiff,
                                                 MEMORANDUM OPINION
 v.                                           AND ORDER ADOPTING REPORT
                                              AND RECOMMENDATION OF THE
 PERCY LEE STROTHER, JR.,                          MAGISTRATE JUDGE

                                Defendant.

       Bradley M. Endicott, Assistant United States Attorney, UNITED STATES
       ATTORNEY’S OFFICE, 316 North Robert Street, 404 U.S. Courthouse,
       Saint Paul, MN 55101, for plaintiff.

       John S. Hughes, LAW OFFICE OF JOHN S. HUGHES, 331 Second
       Avenue South, Suite 705, Minneapolis, Minnesota 55401, for defendant.

       Defendant Percy Lee Strother, Jr. (“Strother”) was charged with two counts of felon

in possession of a firearm – armed career criminal, in violation of 18 U.S.C. §§ 922(g)(1)

and 942(e). On June 6, 2019, Strother filed three motions which, by rule, were referred to

the Magistrate Judge: (1) Motion to Suppress Evidence Obtained in Violation of the Fourth

Amendment; (2) Motion to Suppress Telephone Recordings; and (3) Motion to Sever

Counts.

       On October 31, 2019, United States Magistrate Judge Tony N. Leung issued a report

and recommendation (“R&R”) recommending that the Court deny Strother’s Motions.
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Strother filed timely objections to portions of the R&R. 1 After de novo review of the

issues, the Court will overrule Strother’s objections, adopt the R&R, and deny Strother’s

Motions.


                                    BACKGROUND 2

       The United States charged Strother with two counts of being a felon in possession

– armed career criminal. (Indictment at 1–2, May 7, 2019, Docket No 10.) The firearms

at issue in this case were found by police during two searches that resulted from traffic

stops involving Strother on October 12, 2019 and January 5, 2019. Strother moved to

suppress the evidence from both stops, alleging that the evidence was obtained in violation

of his Fourth Amendment right to be free of unreasonable searches and seizures.


       A.     October 12, 2018 Traffic Stop

       In the early morning hours of October 12, 2019, Officer Marcus Ottney (“Ottney”)

of the Minneapolis Police Department (“MPD”) observed a vehicle with a broken taillight

pull out of an on-street parking space and drive away. Ottney ran the license plate of the




1
  Strother also objects to what he characterizes as a mistake by the Magistrate Judge in
reciting the evidence received at the hearing on his motions. (Objections at 1–2.) Because
the issue of whether the exhibit attached to Strother’s reply memorandum to the Magistrate
Judge constitutes part of “the record” is immaterial to this order, the Court will decline to
consider it.
2
 Strother has not objected to the Magistrate Judge’s factual findings. Therefore, the Court
adopts the facts as stated by the Magistrate Judge and summarized here. The Court only
summarizes the facts necessary to address Strother’s objections. Additional facts are
available in the R&R.


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vehicle through the National Criminal Information Center (“NCIC”) database. 3 The

database indicated that the vehicle had been reported stolen in Saint Paul.

       After confirming that the vehicle that he saw matched the one in the NCIC database,

Ottney stopped the vehicle and ordered the driver to throw the keys out of the window.

The driver did not initially comply and Ottney had to repeat the order several times.

Eventually, the driver followed the order. With the assistance of his partner, Ottney then

handcuffed the driver and put him in the back seat of his MPD squad car. Ottney identified

the driver as Strother and concluded from the NCIC database that Strother was not the

registered owner of the vehicle. Strother told Ottney that he had recently obtained title to

the vehicle. While Ottney was in the squad car with Strother, his partner searched the

vehicle and found a handgun between the driver’s seat and the center console.


       B.     January 5, 2019 Traffic Stop

       In the evening of January 5, 2019, Sergeant Robert Topp (“Topp”) of the Plymouth

Police Department (“PPD”) observed a vehicle with “very bright” headlights approaching

as he was assisting with a traffic stop. Topp believed the vehicle was driving with its high-

beam headlights engaged, and also saw other vehicles driving in the opposite direction.

Topp got into his squad car and pulled up next to the vehicle. He saw a blue light




3
  The NCIC database is “an electronic clearinghouse of crime data” that helps police
“apprehend fugitives, locate missing persons, [and] recover stolen property . . . .” National
Crime Information Center (NCIC), FBI, https://www.fbi.gov/services/cjis/ncic.


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illuminated on the dash, which further confirmed his belief that the vehicle was being

driven with its high beams engaged.

       Topp pulled the vehicle over and told the driver, who Topp identified as Strother,

that he had been pulled over for driving with his high beams on. Strother turned the high

beams off and told Topp it was a stupid mistake. Topp noticed that Strother was sweating

profusely, which he found unusual given the winter temperature. Strother also told Topp

that he was driving to a nearby Extended Stay hotel, which was, according to Topp, known

for criminal activity. Topp felt that Strother was behaving strangely: he avoided eye

contact with Topp, was slow to answer questions, mumbled his answers, and appeared

lethargic. Finally, Topp saw that the vehicle was in what he called “disarray”; center-

console panels had been covered with fabric, a portion of the center console had been pried

up, and the steering-wheel area had been taped.

       Based on these observations, Topp believed Strother was under the influence and in

possession of narcotics. He asked Strother about his criminal record, and Strother replied

that he had no felony arrests or convictions. Topp returned to his squad car and ran a check

on Strother.    The database report contradicted Strother, showing multiple felony

convictions. Based on Strother’s apparent deceptive answers, Topp radioed for a narcotics

canine unit to respond to the stop to conduct a drug sniff.

       Topp returned to the vehicle and ordered Strother to get out. He then performed a

horizontal-gaze nystagmus test on Strother, to investigate whether Strother was under the

influence of alcohol. Although Todd did not see nystagmus, he did notice that Strother’s



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pupils were very constricted, which suggests potential narcotics use. Todd then asked

Strother whether he had anything illegal on him and asked for permission to search him.

Strother consented to the search, and Todd did not find any illegal items. Todd asked

Strother whether he used drugs, and Strother said that he had most recently used drugs four

days earlier, on New Year’s Day.

       Officer Miguel Robles (“Robles”) of the New Hope Police Department then arrived

to conduct the canine sniff. Robles’ dog alerted at the driver-side door, the passenger-side

door, and the passenger-side headlight. Topp and Robles then searched the car and found

a handgun while searching the passenger-side headlight area.


       C.     Jail Phone Calls

       After Topp and Robles found the firearm, Topp placed Strother under arrest. While

subsequently jailed at the Hennepin County Jail (“HCJ”), Strother made multiple telephone

calls. All calls made from HCJ, other than calls to attorneys, are monitored and recorded.

Persons making calls from HCJ are told their calls are recorded before dialing the number

and before the call is connected; additional notification may be given depending on the

length of the call. There are also call-recording notification signs posted near the HCJ

telephones. Finally, when a person is booked into HCJ, they are given a form either

acknowledging the receipt or waiver of a call-notification handout.

       Sergeant Seth Augdahl of the Hennepin County Sheriff’s Office reviewed three

calls made by Strother. In each, Strother received two warnings that his calls were being

monitored and recorded. Additionally, the United States provided a form waiving receipt


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of the call-notification handout. The form included signatures above the lines for inmate

and staff witness, but there was no testimony as to who actually signed the form.


                                      DISCUSSION

I.     STANDARD OF REVIEW

       After an R&R is filed by a magistrate judge, “a party may serve and file specific

written objections to the proposed findings and recommendations.” Fed. R. Crim. P.

59(b)(2). For a dispositive matter such as a motion to suppress evidence, “[t]he district

judge must consider de novo any objection to the magistrate judge’s recommendation.”

Fed. R. Crim. P. 59(b)(1), (3); see also 28 U.S.C. § 636(b)(1). “The objections should

specify the portions of the magistrate judge’s [R&R] to which objections are made and

provide a basis for those objections.” Nayer v. Walvatne, No. 07-1958, 2009 WL 4527774,

at *2 (D. Minn. Sept. 28, 2008).


II.    MOTION TO SUPPRESS TRAFFIC-STOP EVIDENCE

       Strother objects to the recommendation that the Court deny his Motion to Suppress

in the case of both traffic stops. He argues the first search violates the Fourth Amendment

because it was not supported by probable cause; he argues the second search was unlawful

at the outset because Todd lacked reasonable suspicion to initiate the stop and, even if the

stop was lawful, that Todd unlawfully extended the stop to execute a dog sniff.


       A.     October 12, 2018 Stop

       The Fourth Amendment protects the “right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures.” U.S.


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Const. amend. IV. Generally, a warrantless search is per se unreasonable. See, e.g.,

Maryland v. Dyson, 527 U.S. 465, 466 (1999) (noting a warrant is generally required under

the Fourth Amendment).

       For nearly a century, the Supreme Court has recognized an exception to the warrant

requirement when police search an automobile. See Carroll v. United States, 267 U.S. 132,

153 (1925). This exception was grounded in the “the practical challenges of obtaining a

warrant for a vehicle that could be ‘quickly moved’ out of the jurisdiction.” United States

v. Blaylock, 535 F.3d 922, 926 (8th Cir. 2008) (quoting Carroll, 267 U.S. at 153). The

Court has subsequently “identified an additional justification for the exception: ‘the

expectation of privacy with respect to one's automobile is significantly less than that

relating to one’s home or office.’” Id. (quoting South Dakota v. Opperman, 428 U.S. 364,

367 (1976)). Therefore, “the automobile exception ‘justif[ies] searches without prior

recourse to the authority of a magistrate so long as the overriding standard of probable

cause is met.’” Id. (quoting California v. Carney, 471 U.S. 386, 392 (1985)); see also

United States v. Sample, 136 F.3d 562, 564 (8th Cir. 1998) (stating that “police officers may

conduct a warrantless search of a vehicle . . . whenever probable cause exists”).

       Probable cause exists “where there is a fair probability that contraband or evidence

of a crime will be found in a particular place.” United States v. Schleford, 830 F.3d 751,

753 (8th Cir. 2016) (cleaned up). Probable cause “is not a high bar.” Kaley v. United States,

571 U.S. 320, 338 (2014). Rather, it is “a fluid concept” that is “not readily, or even

usefully, reduced to a neat set of legal rules.” Illinois v. Gates, 462 U.S. 213, 232 (1983).

It “requires only a probability or substantial chance of criminal activity, not an actual


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showing of such activity.” Id. at 243–44, n.13. The Eighth Circuit has held that where

police have probable cause to believe a car is stolen, they may conduct a “full” warrantless

search of the car. United States v. Brown, 535 F.2d 424, 428 (8th Cir. 1976); see also United

States v. Hines, 564 F.2d 925, 927–28 (10th Cir. 1977) (noting that NCIC information “has

been routinely accepted” to establish probable cause for arrest, and therefore it can also

serve as “corroborative evidence of a vehicle theft”).

       The Magistrate Judge concluded that the search of the vehicle following the October

12, 2018 traffic stop was permissible under the automobile exception. Strother objects,

arguing that although a NCIC report that a vehicle is stolen may provide probable cause

for a search, Strother told officers he had recently purchased the vehicle. 4 Strother appears

to therefore argue that because Ottney and his partner had evidence that conflicted with

NCIC—namely the word of Strother—the search was unreasonable. Strother does not

offer any authority in support of this argument.

       The Court disagrees. After running the license-plate number of the vehicle in the

NCIC database and receiving a report that the car had been reported stolen, Ottney verified

that the information in the report regarding the vehicle’s make, model, and color matched

the vehicle in front of him. See Maresca v. Bernalillo County, 804 F.3d 1301, 1311 (10th




4
  Strother also objects that the Magistrate Judge did not take up the United States’
alternative arguments that (a) Strother had no standing to object to the October 12, 2018
search in the first instance; and (b) the search was permissible. Because the Court agrees
with the Magistrate Judge that it is not necessary to decide these issues, the Court will
overrule this objection.


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Cir. 2015) (concluding that police violated the Fourth Amendment when they failed to

confirm that the model, make, and color from the NCIC report matched the vehicle in front

of them, after receiving an incorrect report from the NCIC database based on an officer’s

typo). Ottney also confirmed Strother was not the registered owner. Weighed against all

this supporting evidence, Strother’s statements that he had recently purchased the vehicle

are insufficient to render unreasonable Ottney’s belief that the vehicle was stolen.

       Because the police had probable cause to believe the vehicle was stolen, the

subsequent warrantless search of the vehicle does not offend the Fourth Amendment. The

Court will therefore deny Strother’s objection and deny his Motion to Suppress the

handgun discovered during the October 12 search.


       B.     January 5, 2019 Stop

              1.     The Initial Stop

       “The Fourth Amendment permits investigative traffic stops when law enforcement

has reasonable suspicion of criminal activity.” United States v. Lopez-Tubac, 943 F.3d

1156, 1159 (8th Cir. 2019) (quoting United States v. Tamayo-Baez, 820 F.3d 308, 312 (8th

Cir. 2016)). “Reasonable suspicion exists when an officer is aware of particularized,

objective facts which, taken together with rational inferences from those facts, reasonably

warrant suspicion that a crime is being committed.” Id. (quoting United States v. Givens,

763 F.3d 987, 989 (8th Cir. 2014)). Courts assess whether police had reasonable suspicion

using a totality-of-the-circumstances test. Id.




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       Minnesota law requires that that “[w]hen the driver of a vehicle approaches a vehicle

within 1,000 feet, such driver shall use a distribution of light, or composite beam, so aimed

that the glaring rays are not projected into the eyes of the oncoming driver.” Minn. Stat.

§ 169.61(b). Put another way, the statute requires drivers to dim their high beams when

encountering oncoming traffic. Failure to comply with Minn. Stat. § 169.61(b) is a

misdemeanor. Id. § 169.47, subd. 1(a).

       The Magistrate Judge concluded that the that the initial stop was lawful because

Todd observed Strother violate section 169.61(b). Strother objects that this decision

conflicts with the decision of the Minnesota Court of Appeals in Sarber v. Commissioner

of Public Safety, 819 N.W. 2d 465 (Minn. Ct. App. 2012).

       In Sarber, the Court of Appeals reversed the decision of the Commissioner of Public

Safety to revoke Sarber’s driver’s license and impound his license plates. The police based

the initial traffic stop that lead to the discovery of his intoxication on Sarber twice flashing

his high beams at a patrol car while traveling in the opposite direction. Id. at 467. The

Court of Appeals determined that the statutory term “glaring” meant that high-beam flashes

did not violate section 169.61(b) “unless another driver was at least temporarily blinded or

impaired by the lights.” Id. at 468. Therefore, because “the deputy did not testify that the

high beams blinded, distracted, or otherwise impaired him,” there was not evidence Sarber

had violated the statute. Id. at 472.

       Strother argues that because Todd did not testify that his high beams “blinded,

distracted, or otherwise impaired him,” Todd lacked a lawful basis to initiate the stop. This



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argument, however, ignores Sarber’s discussion of Holm v. Commissioner of Public Safety,

416 N.W.2d 473 (Minn. Ct. App.1987). In Holm, the Court of Appeals held that “officers

were justified in stopping [a] vehicle for failure to dim its lights when oncoming traffic was

approaching.” Id. at 475. In Sarber, the Court of Appeals noted that the decision in Holm

was distinguishable from Sarber because Holm had “failed to dim his high beams at any

time. The court therefore did not need to address whether the ‘glaring’ requirement was

satisfied.” Sarber, 819 N.W. at 470 (emphasis added).

       The combination of Todd noticing Strother’s very bright headlights, pulling up next

to Strother to see the blue light on his dash, and observing Strother failing to dim his lights

for oncoming traffic provided reasonable suspicion that Strother was violating Minn. Stat.

§ 169.61(b). Therefore, the traffic stop was lawful.


              2.     Canine Sniff

       The Supreme Court has analogized a traffic stop to a Terry stop. 5 See, e.g.,

Rodreguez v. United States, 575 U.S. 348, 354 (2015). In a Terry stop, a police officer

“who lacks probable cause but whose ‘observations lead him reasonably to suspect’ that a

particular person has committed, is committing, or is about to commit a crime, may detain

that person briefly in order to ‘investigate the circumstances that provoke suspicion.’”




5
 So named after the case in which the Supreme Court first articulated this exception to the
warrant requirement, Terry v. Ohio, 392 U.S. 1 (1968).


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Berkemer v. McCarty, 468 U.S. 420, 439 (1984) (quoting United States v. Brignoni-Ponce,

422 U.S. 873, 881 (1975)).

       “Like a Terry stop, the tolerable duration of police inquiries in the traffic-stop

context is determined by the seizure’s ‘mission’—to address the traffic violation that

warranted the stop and attend to related safety concerns.” Rodriguez v. United States,

575 U.S. 348, 354 (2015) (cleaned up). Therefore, “[a] seizure that is justified solely by

the interest in issuing a warning ticket to the driver can become unlawful if it is prolonged

beyond the time reasonably required to complete that mission.” Illinois v. Caballes,

543 U.S. 405, 407 (2005). The “ordinary inquiries incident to such a stop,” id. at 408,

“involve checking the driver’s license, determining whether there are outstanding warrants

against the driver, and inspecting the automobile's registration and proof of insurance.”

Rodriguez, 575 U.S. at 355. In the absence of a reasonable suspicion of a crime other than

the initial traffic violation, the officer cannot artificially extend the stop.

       However, “[a]n officer’s suspicion of criminal activity may reasonably grow over

the course of a traffic stop as the circumstances unfold and more suspicious facts are

uncovered.” United States v. Murillo-Salgado, 854 F.3d 407, 415 (8th Cir. 2017), cert.

denied, 138 S.Ct. 245 (2017) (quoting United States v. Linkous, 285 F.3d 716, 720 (8th Cir.

2002)). Reasonable suspicion requires that “the police officer must be able to point to

specific and articulable facts which, taken together with rational inferences from those

facts, reasonably warrant” investigation. Terry v. Ohio, 392 U.S. 1, 21 (1968). Reasonable




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suspicion is a less demanding standard than probable cause, but it must be more than a

hunch. United States v. Horton, 611 F.3d 936, 940 (8th Cir. 2010).

         Without unjustifiably extending the initial traffic stop, Todd developed a reasonable

suspicion of criminal activity warranting further investigation. Strother was sweating

profusely; he avoided eye contact with Topp; was slow to answer questions; mumbled his

answers; and appeared lethargic. This suspicious behavior, in combination with the

disarray of the vehicle’s interior and Todd’s knowledge that Strother’s destination, the

Extended Stay hotel, was a location known for criminal activity provided reasonable

suspicion of a crime other than the traffic stop—namely, possession or being under the

influence of narcotics. See, e.g., United States v. Riley, 684 F.3d 758, 763–64 (8th Cir.

2012) (noting that suspicious behavior alone may not be sufficient to establish reasonable

suspicion, but when combined with other factors it may provide the basis for investigation);

United States v. Bloomfield, 40 F.3d 910, 918 (8th Cir. 1994) (noting that, although there is

“a possible innocent explanation for each of the factors . . . if examined separately, as a

totality they were sufficient to create a reasonable suspicion”).

         This suspicion was strengthened by Strother’s deceptive answer about his criminal

history—deception which Todd was almost certain to discover when doing an outstanding

warrant check on Strother, which has been described as part of the “mission” of a traffic

stop.     Cf. Rodriguez, 575 U.S. at 355.        As soon as Todd discovered Strother’s

misrepresentation of his criminal history, after already observing the other suspicious

factors mentioned above, he radioed for a canine unit. He did so with reasonable suspicion.



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See United States v. Pantazis, 816 F.2d 361, 363 (8th Cir. 1987) (“Pantazis’ deceptive

answers coupled with his previous suspicious actions solidified the objective basis required

for Officer Giller’s belief the shoulderbag contained narcotics.”). Todd then returned to

the vehicle and continued to investigate his narcotics suspicion by conducting the

horizontal-gaze nystagmus test and the (consensual) search of Strother’s person. Just after

Todd and Strother were discussing Strother’s recent narcotics use—again, a factor

supporting reasonable suspicion—Robles arrived with his dog.

       Strother argues that Todd’s actions run afoul of the holding in Rodriguez. In that

case, the Supreme Court concluded that an officer had impermissibly extended a traffic

stop in order to conduct a drug sniff. Rodriguez, 575 U.S. at 357. So too did Todd, says

Strother. This argument caries Rodriguez beyond its narrow holding, however. There, the

officer had completed the initial traffic stop, explained the warning to the people in the car,

and returned their documents—put simply, the officer had “[taken] care of all the

business.” Id. at 352. Yet he did not consider the car “free to leave.” Id. He then held the

defendants for six or seven minutes until the dog arrived. Id. Because the Eighth Circuit

had not addressed the finding of the court below that there was no reasonable suspicion

beyond the traffic violation, the Supreme Court concluded the officer had impermissibly

extended the seizure. Id. at 357–58.

       Here, there is ample evidence of reasonable suspicion of criminal activity

independent of the initial traffic violation. The Court in Rodriguez anticipated such a

scenario could be possible. Id. at 358 (“The question whether reasonable suspicion of



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criminal activity justified detaining Rodriguez beyond completion of the traffic infraction

investigation, therefore, remains open for Eighth Circuit consideration on remand.”).

Although approximately ten minutes had passed between Todd’s request for a canine unit

and Robles arrival, Todd was actively conducting his lawful investigation. Cf. Murillo-

Salgado, 854 F.3d at 415–16 (finding permissible a twenty-three-minute-long traffic stop).

        Because Todd had reasonable suspicion of criminal activity, his course of conduct

does not violate the narrow rule found in Rodriguez.         The dog sniff was therefore

permissible. The Court will therefore deny his Motion to Suppress. 6


III.    MOTION TO SUPPRESS JAIL CALLS

        Strother objects to the recommendation that the Court deny his Motion to Suppress

recordings of telephone calls he made from HCJ.

        People have a reasonable expectation of privacy in the contents of a telephone call,

Katz v. United States, 389 U.S. 347, 353 (1967), and therefore recordings of calls made

without a warrant may be suppressed. See, e.g., 18 U.S.C. § 2518(10)(a) (allowing for the

suppression of unlawfully intercepted wire or oral communications). However, telephone

calls “may be intercepted without a warrant if one of the parties to the call gives ‘prior




6
  In his memorandum, Strother states that he objects to the R&R’s conclusion that “the
stop, the extension of the stop, and the search of the vehicle were lawful.” (Objections at
5.) However, he only provides argument that the initial stop and dog sniff were unlawful.
(See id. at 6–9.) After the dog alerted, Todd and Roble had probable cause to search the
vehicle under the automobile exception to the Fourth Amendment. To the extent Strother
validly objected to this conclusion, the Court will overrule the objection.


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consent.’” United Sates v. Lucas, 499 F.3d 769, 780 (8th Cir. 2007) (quoting 18 U.S.C.

§ 2511(2)(c)).

         In Lucas, the Eighth Circuit concluded that the combination of a handbook outlining

call recording procedures, posted placards, and an audio message before the call meant that

the defendant had given prior consent to the recording of his calls. Id. Strother’s case is

no different. The absence of testimony that the signature on his call-policy waiver sheet

was Strother’s is insufficient to outweigh the impact of the placards and two recordings

played on each call Strother made. He had knowledge that calls made from HCJ were

subject to monitoring and recording, and therefore consented within the meaning of

§ 2511(2)(c). The Court will therefore deny Strother’s Motion to Suppress.


IV.      MOTION TO SEVER COUNTS

         Strother objects to the recommendation that the Court deny his Motion to Sever

Counts, on the basis that he will be unfairly prejudiced.

         A person may be charged in a single indictment with multiple offenses if those

offenses “are of the same or similar character, or are based on the same act or transaction,

or are connected with or constitute parts of a common scheme or plan.” Fed. R. Crim.

P. 8(a). The Eighth Circuit has held that offenses “are of the same or similar character”

when they the “same type of offenses occurring over a relatively short period of time, and

the evidence to each out overlaps.” United States v. Shearer, 606 F.2d 819, 820 (8th Cir.

1979).




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       Here, the alleged offenses are nearly identical, and occurred within several months.

Evidence of Strother’s status as a felon will be presented in each. Strother is unable to

demonstrate the “clear showing of prejudice” the Eighth Circuit has said is necessary to

sever felon-in-possession counts. United States v. Rock, 282 F.3d 548, 552 (8th Cir. 2002);

Fed. R. Crim. P. 14(a). Strother’s generalized statement that he may wish to testify as to

one offense but not to the other does not meet the “persuasive and detailed showing

regarding the testimony he would give on the one count he wishes severed and the reason

he cannot testify on the other . . . .” United States v. Possick, 849 F.2d 332, 338 (8th Cir.

1988). Because Strother has failed to clearly show prejudice, the Court will deny his

Motion to Sever.

                                         ORDER

       Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

       1.     Defendant’s Objections to the Report and Recommendation [Docket No. 48]

are OVERRULED;

       2.     The Report & Recommendation [Docket No. 46] is ADOPTED;

       3.     Defendant’s Motion to Suppress Evidence in Violation of the Fourth

Amendment [Docket No. 20] is DENIED;

       4.     Defendant’s Motion to Suppress Telephone Recordings [Docket No. 21] is

DENIED; and

       5.     Defendant’s Motion to Sever Counts [Docket No. 22] is DENIED.



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DATED: January 13, 2020               _______                     ______
at Minneapolis, Minnesota.                   JOHN R. TUNHEIM
                                                 Chief Judge
                                          United States District Court




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